              Case 18-22930-LMI         Doc 40     Filed 12/18/18     Page 1 of 58



                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

 IN RE:

 MARIELA C. ROMAN                                                        CASE NO.: 18-22930-LMI
                                                                                    CHAPTER 7
 AKA MARIELA C VIDAL,
        Debtor.
 _________________________________/
                   MOTION FOR RELIEF FROM AUTOMATIC STAY

       Secured Creditor, U.S. Bank National Association, as Trustee for Residential Funding

Mortgage Securities I, Inc., Mortgage Pass-Through Certificates, Series 2007-S7, by and through

the undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a

modification of the automatic stay provisions for cause, and, in support thereof, states the

following:

   1. Debtor, Mariela C. Roman aka Mariela C Vidal, filed a voluntary petition pursuant to

       Chapter 7 of the United States Bankruptcy Code on October 18, 2018.

   2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

       1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

       statutes affecting the jurisdiction of the Bankruptcy Courts generally.

   3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

       stay of any act against property of the estate under § 362(a) shall continue until this Court

       orders or the stay is otherwise terminated by operation of law.

   4. On April 11, 2007, Debtor(s) executed and delivered a Promissory Note (“Note”) and a



                                                                                         18-22930-LMI
                                                                                            17-050597
                                                                                                 MFR
                                                                                               Page #1
          Case 18-22930-LMI         Doc 40     Filed 12/18/18     Page 2 of 58



   Mortgage (“Mortgage”) securing payment of the Note in the amount of $500,000.00 to

   GMAC Mortgage, LLC. The Mortgage was recorded on April 26, 2007 in Book 25569 at

   Page 1829 of the Public Records of Miami-Dade County, Florida.               The loan was

   transferred to Secured Creditor. True and accurate copies of documents establishing a

   perfected security interest and ability to enforce the terms of the Note are attached hereto

   as Composite Exhibit “A.” The documents include copies of the Note with any required

   indorsements, Recorded Mortgage, Assignment(s) of Mortgage, and any other applicable

   documentation supporting the right to seek a lift of the automatic stay and foreclose, if

   necessary.

5. The Mortgage provides Secured Creditor a lien on the real property located at 3856 SW

   154th St, Miami, FL 33185 in Miami-Dade County, and legally described as stated in the

   Mortgage attached in Composite Exhibit “A.”

6. On May 1, 2012, Debtor entered into a Loan Modification Agreement thereby decreasing

   the principal balance to $447,459.83. Per the terms of the Loan Modification Agreement,

   $232,000.00 of the principal balance was deemed as deferred principal balance.

7. The terms of the aforementioned Note and Mortgage have been in default, and remain in

   default, since May 1, 2017. See Secured Creditor’s statement in regard to indebtedness

   and default, attached hereto and incorporated herein as Exhibit “B.”

8. On May 23, 2018, Plaintiff filed a foreclosure action in the Circuit Court for the Eleventh

   Judicial Circuit in and for Miami-Dade County, Case Number: 2018-009327-CA-01.

   Due to the filing of the instant bankruptcy petition, the foreclosure action has been stayed.



                                                                                     18-22930-LMI
                                                                                        17-050597
                                                                                             MFR
                                                                                           Page #2
           Case 18-22930-LMI        Doc 40      Filed 12/18/18     Page 3 of 58



9. As per the Indebtedness Worksheet attached hereto, Secured Creditor is due the

   pre-petition amount of $642,763.33 and the post-petition amount of $2,445.14, as of

   November 30, 2018. See Exhibit “C” attached hereto. The post-petition payment address

   is: 1661 Worthington Road, Suite 100 West Palm Beach, FL 33409.

10. The appraised value of the property is $504,471.00. See Exhibit “D” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8).

11. Based upon the Debtor(s)’ schedules, the property is claimed as exempt. The Trustee has

   not abandoned the property.

12. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

13. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

14. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The

   value of the collateral is insufficient in and of itself to provide adequate protection which

   the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

   additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

   Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

                                                                                      18-22930-LMI
                                                                                         17-050597
                                                                                              MFR
                                                                                            Page #3
              Case 18-22930-LMI        Doc 40     Filed 12/18/18     Page 4 of 58



       Debtor’s assets.

   15. Once the stay is terminated, the Debtor will have minimal motivation to insure, preserve,

       or protect the collateral; therefore, Secured Creditor requests that the Court waive the

       14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

   16. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

       incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

       and protecting the property, all of which additional sums are secured by the lien of the

       mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

       alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

       pending or subsequent foreclosure proceeding.

   17. A Proposed Order accompanies this Motion. See Exhibit “E” attached hereto.

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Attorney for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-997-6909
                                             By: /s/ Christopher P. Salamone
                                             Christopher P. Salamone, Esquire
                                             Florida Bar Number 75951
                                             Email: csalamone@rasflaw.com
                                                                                      18-22930-LMI
                                                                                         17-050597
                                                                                              MFR
                                                                                            Page #4
              Case 18-22930-LMI       Doc 40    Filed 12/18/18      Page 5 of 58



                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 18, 2018, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system, and a true and correct copy has been

served via CM/ECF or United States Mail to the following parties:

Mariela C. Roman
Federal Correctional Complex
Coleman Prison Camp
POB 1027
Coleman, FL 33521

Ross R Hartog
101 NE Third Avenue
Suite 1210
Fort Lauderdale, FL 33301

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130


                                           ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                           Attorney for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-997-6909
                                           By: /s/ Christopher P. Salamone
                                           Christopher P. Salamone, Esquire
                                           Florida Bar Number 75951
                                           Email: csalamone@rasflaw.com




                                                                                   18-22930-LMI
                                                                                      17-050597
                                                                                           MFR
                                                                                         Page #5
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 6 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 7 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 8 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 9 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 10 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 11 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 12 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 13 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 14 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 15 of 58




      COMPOSITE EXHIBIT “A”
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 16 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 17 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 18 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 19 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 20 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 21 of 58
          Case 18-22930-LMI              Doc 40         Filed 12/18/18         Page 22 of 58




(P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S,C. Section 2601 et seq.) and its
implementing regulation, Regulation X (24 C F R. Part 3500), as they might be amended from time to
time, or any additional or successor legislation or regulation that governs the same subject matter. As used
in this Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard
to a "federally related mortgage loan" even if the Loan does not qualify as a "federally related mortgage
loan" under RESPA.
(Q) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or
not that party has assumed Borrower's obligations under the Note and/or this Security Instrument.
TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and
modifications of the Note; and (ii) the performance of Borrower's covenants and agreements under this
Security Instrument and the Note. For this purpose, Borrower does hereby mortgage, grant and convey to
MERS (solely as nominee for Lender and Lender's successors and assigns) and to the successors and
assigns of MERS, the following described property located in the County   [Type of Recording Jurisdiction]
OfMiami'Dade                                                            [Name of Recording Jurisdiction]:
see attached legal description




Parcel ID Number'                                                          which currently has the address of
3856 SW 154TH ST                                                                                         [Street]
Miami                                                               [City], Florida 33185            [Zip Code]
(" Property Address" ):
       TOGETHER WITH all the improvements now or hereafter erected on the property, and all
easements, appurtenances, and fixtures now or hereafter a part of the property All replacements and
additions shall also be covered by this Security Instrument All of the foregoing is referred to in this
Security Instrument as the "Property." Borrower understands and agrees that MERS holds only legal title
to the interests granted by Borrower in this Security Instrument, but, if necessary to comply with law or
custom, MERS (as nominee for Lender and Lender' s successors and aSSigns) has the right: to exercise any
or all of those interests, including, but not limited to, the right to foreclose and sell the Property; and to
take any action required of Lender including, but not limited to, releasmg and canceling this Security
Instrument.

                                                                               ! CZ
@6MFL) (0005)o2                                   PageS 01‘16                                Form 3010     1/01
   ®
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 23 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 24 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 25 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 26 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 27 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 28 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 29 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 30 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 31 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 32 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 33 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 34 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 35 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 36 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 37 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 38 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 39 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 40 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 41 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 42 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 43 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 44 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 45 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 46 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 47 of 58




                EXHIBIT “B”
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 48 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 49 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 50 of 58
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 51 of 58




                EXHIBIT “C”
              Case 18-22930-LMI           Doc 40    Filed 12/18/18     Page 52 of 58
                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

 IN RE:                                                                   CASE NO.: 18-22930-LMI
                                                                                     CHAPTER 7
 MARIELA C. ROMAN AKA
 MARIELA C VIDAL,
        Debtor.
 _________________________________/


                               INDEBTEDNESS WORKSHEET
Debt as of Petition Date

          Total pre-petition indebtedness of debtor(s) to Movant $642,763.33
              Amount of principal: $374,893.25
              Amount of deferred principal: $232,000.00
              Amount of interest: $ 18,610.53
              Amount of escrow (taxes and insurance): $10,082.52
              Amount of forced placed insurance expended by Movant: $0.00
              Amount of attorneys’ fees and costs billed to debtor(s) pre-petition: $6,302.60
              Amount of pre-petition late fees, if any, billed to debtor(s): $2,104.43
              Any additional pre-petition fees, charges or amounts charged to debtor account and
              not listed above: Property Valuation $170.00, Title Search $26.21, Property
              Maintenance Expense $125.00, Property Inspection Fee $68.75, Property Inspection
              $72.50, Suspense Credit $-1,692.46
          Contractual Interest Rate: 2%




17-050597– MnL
            Case 18-22930-LMI       Doc 40     Filed 12/18/18    Page 53 of 58
                          Amount of Alleged Post-Petition Default
                               (As of November 20, 2018)

        Date last payment was received: 04/20/2018
        Alleged total number of payment due post-petition from filing of petition through
        due on 11/1/2018: 1
        All post-petition payments alleged to be in default:
 Alleged     Alleged   Amount Amount             Amount       Amount       Late Fee
 Amount      Amount    Received Applied          Applied      Applied to Charged (if
 Due Date    Due                   to            to           Escrow       any)
                                   Principal Interest
 11/1/2018  $3,206.60    $0.00      $1,095.60 $1,143.98         $967.02        $0.00
 Total:     $3,206.60    $0.00      $1,095.60 $1,143.98         $967.02        $0.00
        Amount of movant’s attorney’s fees billed to debtor for the preparation and filing
        and prosecution of this motion: $750.00
        Amount of movant’s filing fee for this motion: $181.00
        Other attorney’s fees billed to debtor post-petition: $0.00
        Amount of post-petition inspection fees: $0.00
        Amount of movant’s post-petition appraisal broker’s price opinion: $0.00
        Amount of forced place insurance or insurance provided by the movant post-
        petition: $0.00
        Sum held in suspense by movant in connection with this contract, if applicable:
        $0.00
        Amount of other post-petition advances or charges, for example, taxes, insurance
        incurred by debtor, etc. (itemize each charge): $0.00
        Total post-petition debt: $ 2,445.14




17-050597– MnL
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 54 of 58




                EXHIBIT “D”
012321405                     Case 18-22930-LMI             67Doc
                                                              89
740
                                                                    
7Filed
                                                                          9912/18/18
                                                                                  8
Page
                                                                                                855 of 58



                                                         7B
987                                                       K

7
E012321405
$%&'(%)*,-.&%/0)1&-
2&31&4                               3456074034574
$%&'(%)*899%(::4                     35;7< 0;56=
                                     >?= 3305;5506
@A-(%                                BCD=BEF
G0131-H899%(::                       35;7< 0;56=
                                     CC>?=3305;I
$8$%1/0%*J&-(                        4040CFK=D?C=L
                                     4045BDCDFOC=CFK=D
$%1/0%*M0-9N:(                       ?C=LBDCDFOC=OEO=
                                     P=ID
Q(9:RQ0)S:RT03.                      52324
23&&%:                               1
M1U1-HN-1):                          0
8V)W038%(0                           5>350X?
M1U1-H8%(0                           3>4;7X?
89YW:)(98%(0                         3>503X?                              n0o0p3(^03W(,-.&%/0)1&-
M&)Z1[(                              \>\\5X?                                                                   1405           140\            1407
](0%QW13)                            1444                                   d&W-)*
8::(::/(-),-.&%/0)1&-                                                       De
98P
                    _;4>444        _;4>444         _;4>444
L
7                                 1405           140\            1407    Oef
P
                     _316>335       _310>;31        _303>560
M0-9^03W(                        _015>773       _04;>773         _50>1\6    ZVS&&3Q&0%9
QW1391-H^03W(                    _30;>\10       _341>456        _34;>;66    De
98P
                    _1;>444        _1;>444         _1;>444
                                  _74>45\        _74>\55         _70>504    Oef
P
                     _3;5>335       _357>;31        _335>560
`2^03W(                                                                     d1)*
G0%a()^03W(                      _;45>5\0       _575>574        _555>155    De
98P
                         _4              _4              _4
8::(::(9^03W(                    _3\6>335       _3\0>;31        _373>560    Oef
P
                           _4              _4              _4
Q(-(.1):,-.&%/0)1&-                                                         q(H1&-03
b

c              O9
                      1405 140\ 1407               De
98P
                    _;4>444        _;4>444         _;4>444
Z0U(@W%T&/(:d0'

B
8 _01;>03\_67>615 _55>36\                  Oef
P
                     _316>335       _310>;31        _303>560
T&/(:)(09            De
98              _1;>444_1;>444 _1;>444 Z03(:,-.&%/0)1&-
Z(V&-9T&/(:)(09 De
98                   _1;>444_1;>444 _1;>444 67
"8
      67
               EBb88r6!
        lc8
798
F8
F8f

c7
99f
8Oef
P
g
 8>88 012402144; _704>444                   15057544;      
7
Xc

b87>>B
!8h
                                                                    0024021441    _344>444                145;3101\      
7
Xc

ZS&%)M(H03i(:V%1')1&-                                               0124021444 _11;>444                   065\\5;5;      
7
Xc

6EFDDOODD1
6b0;756O065\\
=EO11b=j;
=EOCkD\\\5l?O
?I34560744445444504m4514
O
Ecc
8c
6789
7997
78
!9!
e78O
f
87
c

877
c87887
87 O
6789
7997
7

8
8f>

c
7I
7!7


922
!8"2c82
79
P
78
922
!8"29789
7
72#27
98727                                                                                           020
Case 18-22930-LMI   Doc 40   Filed 12/18/18   Page 56 of 58




                EXHIBIT “E”
             Case 18-22930-LMI        Doc 40    Filed 12/18/18     Page 57 of 58




                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

 IN RE:                                                              CASE NO.: 18-22930-LMI
                                                                                CHAPTER 7
 MARIELA C. ROMAN AKA
 MARIELA C VIDAL,
        Debtor.
 _________________________________/


            ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY
       THIS CASE came on consideration without a hearing on U.S. Bank National
Association, as Trustee for Residential Funding Mortgage Securities I, Inc., Mortgage
Pass-Through Certificates, Series 2007-S7’s (“Secured Creditor”) Motion for Relief from Stay
(Docket No. ##), and the movant by submitting this form of order having represented that the
motion was served on all parties required by Local Rule 4001-1, that the 14-day response time
provided by that rule has expired, that no one has filed, or served on the movant, a response to
the motion, and that the form of order was attached as an exhibit to the motion. Accordingly, it
is:
              Case 18-22930-LMI         Doc 40     Filed 12/18/18     Page 58 of 58



        ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured

       Creditor’s interest in the following property located at 3856 SW 154th St, Miami, FL
       33185 in Miami-Dade County, Florida, and legally described as:
       LOT 22, BLOCK 5, OF PONCE ESTATE SECTION TWO,
       ACCORDING TO THE PLAT THEREOF, AS RECORDED IN PLAT
       BOOK 156, PAGE 49, OF THE PUBLIC RECORDS OF MIAMI-DADE
       COUNTY, FLORIDA.

   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtors.
   4. Secured Creditor is further granted relief in order to contact the Debtors by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. Attorneys’ fees in the amount of $750.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.
                                                 ###
Submitted by:
Christopher P. Salamone, Esquire
Robertson, Anschutz & Schneid, PL
Attorney for Creditor
6409 Congress Ave., Suite 100
Boca Raton, FL 33487


Christopher P. Salamone, Esquire is directed to serve copies of this order on all interested parties
and file a certificate of service.
